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                           UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF PENNSYLVANIA

 Carla Emel, individually and on behalf of all others                 Civil Action
 similarly situated;                                                  ____________
                                          Plaintiff,
                                                                       CLASS ACTION COMPLAINT


                                                                       DEMAND FOR JURY TRIAL

        -v.-
 TrueAccord Corp., LVNV Funding LLC,
 and John Does 1-25.
                                       Defendants.


       Plaintiff Carla Emel (hereinafter, “Plaintiff”), a Pennsylvania resident, brings this Class

Action Complaint by and through her attorneys, against Defendants TrueAccord Corp (hereinafter

“Defendant TrueAccord”) and Defendant LVNV Funding              (hereinafter “Defendant LVNV”),

individually and on behalf of a class of all others similarly situated, pursuant to Rule 23 of the

Federal Rules of Civil Procedure, based upon information and belief of Plaintiff’s counsel, except

for allegations specifically pertaining to Plaintiff, which are based upon Plaintiff’s personal

knowledge.

                      INTRODUCTION/PRELIMINARY STATEMENT

       1.       Congress enacted the Fair Debt Collection Practices Act (hereinafter, “the FDCPA”

or “Act”) in 1977 in response to the “abundant evidence of the use of abusive, deceptive, and unfair

debt collection practices by many debt collectors.” 15 U.S.C. §1692(a). At that time, Congress was

concerned that “abusive debt collection practices contribute to the number of personal bankruptcies,

to material instability, to the loss of jobs, and to invasions of individual privacy.” Id. Congress

concluded that “existing laws…[we]re inadequate to protect consumers,” and that “‘the effective


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collection of debts” does not require “misrepresentation or other abusive debt collection practices.”

15 U.S.C. §§ 1692(b) & (c).

       2.       Congress explained that the purpose of the Act was not only to eliminate abusive

debt collection practices, but also to “insure that those debt collectors who refrain from using

abusive debt collection practices are not competitively disadvantaged.” Id. § 1692(e). After

determining that the existing consumer protection laws ·were inadequate ~ Id. § l692(b), Congress

gave consumers a private cause of action against debt collectors who fail to comply with the Act.

Id. § 1692k.

                                   JURISDICTION AND VENUE

       3.       The Court has jurisdiction over this class action pursuant to 28 U.S.C. § 1331 and

15 U.S.C. § 1692 et. seq. The Court has pendent jurisdiction over all State law claims in this action

pursuant to 28 U.S.C. § 1367(a).

       4.       Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) as this is

where a substantial part of the events or omissions giving rise to the claim occurred.

                                   NATURE OF THE ACTION

       5.       Plaintiff brings this class action on behalf of a class of Pennsylvania consumers under

§1692 et seq. of Title 15 of the United States Code, commonly referred to as the Fair Debt

Collections Practices Act (“FDCPA”), and

       6.       Plaintiff is seeking damages and declaratory relief.

                                                PARTIES

       7.       Plaintiff is a resident of the Commonwealth of Pennsylvania, County of Luzerne.




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       8.       Defendant TrueAccord is a “debt collector” as the phrase is defined in 15 U.S.C.

§ 1692(a)(6) and used in the FDCPA and can be served process upon its registered agent, Incorp

Services Inc. at 7208 Red Top Road, Hummelstown, PA 17036.

       9.       Upon information and belief, Defendant TrueAccord is a company that uses the mail,

telephone, and facsimile and regularly engages in business the principal purpose of which is to

attempt to collect debts alleged to be due another.

       10.      Defendant LVNV is a “debt collector” as the phrase is defined in 15 U.S.C. §

1692(a)(6) and used in the FDCPA and can be served process upon its registered agent, Corporation

Service Company at 2595 Interstate Drive, Suite 103, Harrisburg, PA 17110.

       11.      Upon information and belief, Defendant LVNV is a company that uses the mail,

telephone, and facsimile and regularly engages in business the principal purpose of which is to

attempt to collect debts alleged to be due another

       12.      John Does l-25, are fictitious names of individuals and businesses alleged for the

purpose of substituting names of Defendants whose identities will be disclosed in discovery and

should be made parties to this action.


                                         CLASS ALLEGATIONS

       13.      Plaintiff brings this claim on behalf of the following case, pursuant to Fed. R. Civ.

P. 23(a) and 23(b)(3).

       14.      The Class consists of:

                a. all individuals with addresses in the Commonwealth of Pennsylvania;

                b. to whom Defendant TrueAccord sent an collection letter attempting to collect a

                   consumer debt;

                c. on behalf of Defendant LVNV;

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               d. that fails to disclose that the previously-lapsed statute of limitations to file a

                   lawsuit to collect the debt will recommence upon payment;

               e. which letter was sent on or after a date one (1) year prior to the filing of this

                   action and on or before a date twenty-one (2l) days after the filing of this action.

       15.     The identities of all class members are readily ascertainable from the records of

Defendants and those companies and entities on whose behalf they attempt to collect and/or have

purchased debts.

       16.     Excluded from the Plaintiff Class are the Defendants and all officer, members,

partners, managers, directors and employees of the Defendants and their respective immediate

families, and legal counsel for all parties to this action, and all members of their immediate families.

       17.     There are questions of law and fact common to the Plaintiff Class, which common

issues predominate over any issues involving only individual class members. The principal issue is

whether the Defendants’ written communications to consumers, in the forms attached as Exhibit

A, violate 15 U.S.C. §§ l692e & 1692g.

       18.     The Plaintiff’s claims are typical of the class members, as all are based upon the same

facts and legal theories. The Plaintiff will fairly and adequately protect the interests of the Plaintiff

Class defined in this complaint. The Plaintiff has retained counsel with experience in handling

consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiff nor her attorneys

have any interests, which might cause them not to vigorously pursue this action.

       19.     This action has been brought, and may properly be maintained, as a class action

pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a well-

defined community interest in the litigation:




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    a. Numerosity: The Plaintiff is informed and believes, and on that basis alleges,

       that the Plaintiff Class defined above is so numerous that joinder of all members

       would be impractical.

    b. Common Questions Predominate: Common questions of law and fact exist as

       to all members of the Plaintiff Class and those questions predominate over any

       questions or issues involving only individual class members. The principal issue

       is whether the Defendants’ written communications to consumers, in the forms

       attached as Exhibit A violate 15 U.S.C. §§ l692e.

    c. Typicality: The Plaintiff’s claims are typical of the claims of the class members.

       The Plaintiff and all members of the Plaintiff Class have claims arising out of the

       Defendants’ common uniform course of conduct complained of herein.

    d. Adequacy: The Plaintiff will fairly and adequately protect the interests of the

       class members insofar as Plaintiff has no interests that are adverse to the absent

       class members. The Plaintiff is committed to vigorously litigating this matter.

       Plaintiff has also retained counsel experienced in handling consumer lawsuits,

       complex legal issues, and class actions. Neither the Plaintiff nor her counsel have

       any interests which might cause them not to vigorously pursue the instant class

       action lawsuit.

    e. Superiority: A class action is superior to the other available means for the fair

       and efficient adjudication of this controversy because individual joinder of all

       members would be impracticable. Class action treatment will permit a large

       number of similarly situated persons to prosecute their common claims in a single




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                   forum efficiently and without unnecessary duplication of effort and expense that

                   individual actions would engender.

       20.     Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure

is also appropriate in that the questions of law and fact common to members of the Plaintiff Class

predominate over any questions affecting an individual member, and a class action is superior to

other available methods for the fair and efficient adjudication of the controversy.

       21.     Depending on the outcome of further investigation and discovery, Plaintiff may, at

the time of class certification motion, seek to certify a class(es) only as to particular issues pursuant

to Fed. R. Civ. P. 23(c)(4).


                                    FACTUAL ALLEGATIONS

       22.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered above herein with the same force and effect as if the same were set forth at length herein.

       23.     Some time prior to August 24, 2021, an obligation was allegedly incurred to Plains

Commerce Bank

       24.     The Plains Commerce Bank obligation arose out of a transaction in which involved

the transaction of money, property, insurance or services primarily for personal, family or household

purposes.

       25.     The alleged Plains Commerce Bank obligation is a "debt" as defined by 15 U.S.C.§

1692a(5).

       26.     Plains Commerce Bank is a "creditor" as defined by 15 U.S.C.§ 1692a(4).

       27.     Defendant TrueAccord, a debt collector and subsequent owner of the Plains

Commerce Bank debt, contracted with Defendant LVNV to collect the alleged debt.




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       28.      Defendants collect and attempt to collect debts incurred or alleged to have been

incurred for personal, family or household purposes on behalf of creditors using the United States

Postal Services, telephone and internet.

                           Violation – August 24, 2021 Collection Letter

       29.      On or about August 24, 2021, Defendant TrueAccord sent Plaintiff a collection letter

(the “Letter”) regarding the alleged debt owed. A true and accurate copy of the Letter is attached

as Exhibit A.

       30.      The letter states: Did you forget about your LVNV Funding LLC (current creditor

of your original Plains Commerce Bank account) Balance?

       31.      The letter further states: “The law limits how long you can be sued on a debt.

Because of the age of your debt, LVNV Funding LLC cannot sue you for it, and LVNV Funding

LLC cannot report it to any credit reporting agency.”

       32.      The letter is materially deceptive as it fails to disclose that the previously-lapsed

statute of limitations to file a lawsuit to collect the debt will recommence upon payment by Plaintiff.

       33.      Therefore, the letter puts the Plaintiff at material risk of making a partial payment

and thereby unknowingly recommencing the lapsed statute of limitations.

       34.      Because of Defendant’s actions, Plaintiff expended time, money, and effort in

determining the proper course of action.

       35.      These violations by Defendant were knowing, willful, negligent and/or intentional,

and Defendant did not maintain procedures reasonably adapted to avoid any such violations.

       36.      Defendants’ collection efforts with respect to this alleged debt from Plaintiff caused

Plaintiff to suffer concrete and particularized harm, inter alia, because the FDCPA provides Plaintiff




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with the legally protected right to be not to be misled or treated unfairly with respect to any action

for the collection of any consumer debt.

        37.     Defendants’ deceptive, misleading and unfair representations with respect to its

collection efforts were material misrepresentations that affected and frustrated Plaintiff's ability to

intelligently respond to Defendants’ collection efforts because Plaintiff could not adequately

respond to Defendants’ demand for payment of this debt.

        38.     Defendants’ actions created an appreciable risk to Plaintiff of being unable to

properly respond or handle Defendants’ debt collection.

        39.     Plaintiff was confused and misled to her detriment by the statements in the dunning

letter, and relied on the contents of the letter to her detriment.

        40.     Plaintiff would have pursued a different course of action were it not for Defendant’s

statutory violations.

        41.     Plaintiff sustained an informational injury in that she was deceptively misled about

the true legal nature of the alleged debt and was not advised that making payment on the debt would

restart the statute of limitations.

        42.     As a result of Defendants’ deceptive, misleading and unfair debt collection practices,

Plaintiff has been damaged.



                                        COUNT I
                        VIOLATIONS OF THE FAIR DEBT COLLECTION
                            PRACTICES ACT 15 U.S.C. §1692e et seq.

        43.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

above herein with the same force and effect as if the same were set forth at length herein.




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        44.      Defendants debt collection efforts attempted and/or directed towards the Plaintiff

violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692e.

        45.      Pursuant to 15 U.S.C. §1692e, a debt collector may not use any false, deceptive, or

misleading representation or means in connection with the collection of any debt.

        46.      Defendants violated §1692e:


                 a. by omitting material information creating a false and misleading representation of

        the status of the debt in violation of §1692e(10); and


                 b. by falsely representing the character, amount or legal status of the debt in violation

        of §1692e(2)(A);


        47.      By reason thereof, Defendants are liable to Plaintiff for judgment that Defendants

conduct violated Section 1692e et seq. of the FDCPA, actual damages, statutory damages, costs and

attorneys’ fees.


                                  DEMAND FOR TRIAL BY JURY

        48.      Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests

a trial by jury on all issues so triable.

                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Carla Emel, individually and on behalf of all others similarly

situated, demands judgment from Defendant TrueAccord and Defendant LVNV as follows:

        1.       Declaring that this action is properly maintainable as a Class Action and certifying

Plaintiff as Class representative, and Scott Bernstein, Esq. as Class Counsel;

        2.       Awarding Plaintiff and the Class statutory damages;



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      3.       Awarding Plaintiff and the Class actual damages;

      4.       Awarding Plaintiff costs of this Action, including reasonable attorneys’ fees and

   expenses;

      5.       Awarding pre-judgment interest and post-judgment interest; and

      6.       Awarding Plaintiff and the Class such other and further relief as this Court may deem

   just and proper.


Dated: Roseland, New Jersey
       September 17, 2021
                                                     Skolnick Legal Group, P.C,

                                                     /s/ Scott H. Bernstein
                                                     Scott H. Bernstein, Esq.
                                                     Skolnick Legal Group, P.C.
                                                     103 Eisenhower Parkway, Suite 305
                                                     Roseland, New Jersey 07068
                                                     (203) 246-2887
                                                     scott@skolnicklegalgroup.com




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